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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 CELESTE FLYNN, INDIVIDUALLY AND AS                        CIVIL ACTION
 PERSONAL REPRESENTATIVE OF THE
 ESTATE OF NATHAN E. FLYNN, et al.,
                                                           NO. 20-3082-KSM
        Plaintiffs,

        v.

 OMEGA FLEX, INC.,

        Defendant.


                                           ORDER

       AND NOW, this 29th day of September, 2021, upon consideration of Defendant’s Motion

to Dismiss Plaintiffs’ Complaint Pursuant to Rule 12(b)(6) (Doc. No. 5), Plaintiffs’ opposition

brief (Doc. No. 11), Defendant’s reply brief (Doc. No. 12), Plaintiffs’ supplemental brief (Doc.

No. 28), Defendant’s supplemental brief (Doc. No. 29), and the arguments of counsel during oral

argument on July 8, 2021, it is ORDERED that the motion is DENIED.

IT IS SO ORDERED.

                                                           /s/Karen Spencer Marston
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                                                           KAREN SPENCER MARSTON, J.
